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OAO 245B       NNY(Rev. 10/05) Judgment in a Criminal Case
               Sheet 1



                                         UNITED STATES DISTRICT COURT
                          Northern                                  District of                                New York
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.
                        David Monk
                                                                           Case Number:                     DNYN505CR000217-004
                                                                           USM Number:              14129-055
                                                                           Thomas J. Eoannou
                                                                           484 Delaware Avenue
                                                                           Buffalo, New York 14202 (716) 885-2889
                                                                           Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         19 on the Second Superseding Indictment on May 1, 2006

G pleaded nolo contende re to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of no t guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of O ffense                                                       Offense Ended                Count
18 U.S.C. § 92 4(h)                Transferring Firearms to be Used to Commit a Crime of Violence            02/28/2002                   19
                                   or a Drug Trafficking Crime




       The defendant is sentenced as provided in pages 2 through                  5       of this judgment. The sentence is imposed in accordance
with 18 U .S.C. § 35 53 and the Sentencing G uidelines.

G The defendant has been found not guilty on count(s)
X Count(s)                          18                       X is   G are dismissed o n the motion o f the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing addre ss until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenda nt must notify the court and U nited States attorney of material changes in eco nomic circumstances.

                                                                           September 6, 2006
                                                                           Date of Imposition of Judgment




                                                                           September 11, 2006
MJK                                                                        Date
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              Sheet 4—Probation
                                                                                                              Judgment—Page       2     of        5
DEFENDANT:                    David Monk
CASE NUMBER:                  DNYN505CR000217-004
                                                                   PROBATION
The defendant is hereb y sentenc ed to probation for a term of:


4 years.



The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 d ays of placem ent on probation and at least two periodic drug tests thereafter, as
determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if ap plicab le.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

x        The defendant shall co ope rate in the collection of D NA as directed b y the pro bation officer. (Deselect, if inap plicab le.)

G        The defendant shall register with the state sex offender registration agency in the state where the defendant reside s, works, or is a student,
         as directed b y the pro bation officer. (Check, if app licable.)

G        The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
        If this judgment impo ses a fine o r restitution, it is a cond ition of probation tha t the defendant pay in accordance with the Schedule of
Paym ents sheet of this jud gment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and comp lete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schoolin g, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engag ed in criminal activity and shall not associate with an y perso n convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm ission of the cou rt;
 13)      as directed by the pro bation officer, the defendant shall notify third parties of risks that may be occasio ned by the d efendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement; and
 14)      the defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
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            Sheet 4C — Probation
                                                                                          Judgment—Page   3   of      5
DEFENDANT:                 David Monk
CASE NUMBER:               DNYN505CR000217-004

                                        SPECIAL CONDITIONS OF SUPERVISION

1.        The defendant shall serve 6 months in home detention, commencing on a date and under conditions to be set
          by the probation officer. If the defendant is placed in the electronic monitoring program, he shall pay all costs
          associated with the program according to his ability to pay as determined by the probation officer.
2.        The defendant shall perform 50 hours of community service. The site, schedule, and conditions shall be
          approved by the probation officer.
3.        The defendant shall provide the probation officer with access to any requested financial information.


     DEFENDANT’S ACKNOWLEDGMENTOF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                      Defendant                                                    Date



                      U.S. P robation O fficer/Designated W itness                 Date
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AO 245B   NNY(Rev. 10/05) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page     4      of       5
DEFENDANT:                       David Monk
CASE NUMBER:                     DNYN505CR000217-004
                                            CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                            Fine                                  Restitution
TOTALS           $ 100                                                 $ W aived                             $ N/A



G   The determination of re stitution is de ferred until                   . An Am ended Jud gment in a Crim inal Case (AO 245 C) will
    be entered after such determination.

G   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approxim ately proportioned paym ent, unless spec ified otherwise in
    the priority order or percen tage payment column below. However, pursuant to 18 U .S.C. § 366 4(i), all no nfederal victims must be paid
    before the United States is paid.

Name of Payee                                           Tota l Loss*                   Restitution Ordered                 Priority or Percentage




TOTALS                              $                                          $


G    Restitutio n amo unt ord ered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

G    The cou rt determined that the defendant do es not have the ability to p ay interest and it is ordered that:

     G the interest requirement is waived for the               G fine     G    restitution.

     G the interest requirement for the         G        fine    G     restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    NNY(Rev. 10/05) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                           Judgment — Page      5      of        5
DEFENDANT:                  David Monk
CASE NUMBER:                DNYN505CR000217-004

                                                     SCHEDULE OF PAYMENTS
Having assessed the de fendant’s ability to pay, payment of the total criminal monetary penalties are due as follow s:

A    X    In full immediately; or

B    G    Lump sum payment of $                             due immediately, balance due

          G     not later than                                   , or
          G     in acco rdance with   G D,       G E,       G      F, or     G G below; or
C    G    Payment to begin immediately (may be combined with               G D,      G    E, or       G   G below); or

D    G    Payment in equal                  (e.g., weekly, mo nthly, quarterly) installm ents of $                        over a period of
                      (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

E    G    Payment in equal                   (e.g., weekly, mo nthly, quarterly) installm ents of $                      over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    G    Special instructions regarding the paym ent of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonm ent. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Resp onsibility Program, are made to Lawrence K. Baerman, Clerk, U.S. District Court, Federal Bldg., P.O. Box 7367, 100 S. Clinton
Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation o fficer, or the United States attorney. If a victim
cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim
is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     G    Defendant and Co-De fendant Names and Case N umbers (including defendant numb er), T otal Amou nt, Joint and Severa l Amo unt, and
          corresponding payee, if appropriate.



     G    The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.


G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following prope rty to the United States:

Paym ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) comm unity restitution, (7) penalties, and (8) costs, including co st of prosecution and court costs.
